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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Holt Healthcare Management Services, Inc.
                                              Plaintiff,
v.                                                         Case No.: 1:16−cv−07295
                                                           Honorable Harry D.
                                                           Leinenweber
Comprehensive Decubitus Therapy, Inc., et
al.
                                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, March 17, 2017:


        MINUTE entry before the Honorable Harry D. Leinenweber:Pursuant to the
Stipulation [34], plaintiff's individual claims against defendant is dismissed with prejudice
and without costs. Plaintiff's class claims against defendant are dismissed without
prejudice and without costs. Plaintiff's claims against John Does 1−10 are dismissed
without prejudice and without costs. Status hearing stricken.Civil case terminated. Mailed
notice(wp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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